                      Case 1:24-mj-00027-MAU Document 1 Filed 01/26/24 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                   Giorgi Mamulashvili
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                            in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

            Code Section                                                      Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
         18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a Restricted Building or
        Grounds) ,
        40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building) ,
        40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building) .
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.




$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWV
E\WHOHSKRQH

Date:             01/26/2024
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                               Printed name and title
